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11                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                  SAN FRANCISCO DIVISION
13                                                        Case No. 3:25-cv-04870-CRB
14   GAVIN NEWSOM, in his official capacity as
     Governor of the State of California, et al.
15                                                        NOTICE OF APPEAL
             Plaintiffs,
16
                     v.
17                                                        The Hon. Charles R. Breyer
     DONALD J. TRUMP, in his official capacity as
18   President of the United States of America, et al.,
19            Defendants.
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     Notice of Appeal
     3:25-cv-4870-CRB
            PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of
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 2   Appeals for the Ninth Circuit from the Court’s June 12, 2025 Order granting injunctive relief to

 3   Plaintiffs under Rule 65.
 4
     Dated: June 12, 2025                         Respectfully submitted,
 5
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                                                  /s/ Garry D. Hartlieb
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     Notice of Appeal
     3:25-cv-4780-CRB
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